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        United States Court of Appeals
             for the Fifth Circuit
                            ___________

                             No. 23-10362
                            ___________

Alliance for Hippocratic Medicine; American
Association of Pro-Life Obstetricians &
Gynecologists; American College of Pediatricians;
Christian Medical & Dental Associations; Shaun
Jester, D.O.; Regina Frost-Clark, M.D.; Tyler Johnson,
D.O.; George Delgado, M.D.,

                                                      Plaintiffs—Appellees,

                                versus

Food & Drug Administration; Robert M. Califf,
Commissioner of Food and Drugs; Janet Woodcock, M.D., in her
official capacity as Principal Deputy Commissioner, U.S. Food and Drug
Administration; Patrizia Cavazzoni, M.D., in her official capacity as
Director, Center for Drug Evaluation and Research, U.S. Food and Drug
Administration; United States Department of Health and
Human Services; Xavier Becerra, Secretary, U.S. Department of
Health and Human Services,

                                                   Defendants—Appellants,

                                versus

Danco Laboratories, L.L.C.,

                                                    Intervenor—Appellant.
Case: 23-10362       Document: 107-1       Page: 2       Date Filed: 04/12/2023

                                 No. 23-10362




                ______________________________

                Appeal from the United States District Court
                    for the Northern District of Texas
                          USDC No. 2:22-CV-223
                ______________________________

ORDER:
       IT IS ORDERED that the unopposed motion filed by Local
Governments for leave to file an amici curiae brief is
       IT IS FURTHER ORDERED that the opposed motion filed by
Ethics and Public Policy Center for leave to file an amicus curiae brief is
       IT IS FURTHER ORDERED that the unopposed motion filed by
240 Members of Congress for leave to file an amici curiae brief is
       IT IS FURTHER ORDERED that the unopposed motion filed by
Human Coalition to file an amicus curiae brief is


                     Lyle W. Cayce, Clerk
                 United States Court of Appeals
                      for the Fifth Circuit
                       /s/ Lyle W. Cayce
          ENTERED AT THE DIRECTION OF THE COURT




                                       2
